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 4                       UNITED STATES DISTRICT COURT
 5                               DISTRICT OF NEVADA
 6                                          ***
 7   UNITED STATES OF AMERICA,                )
                                              )     2:09-CR-00185-PMP-LRL
 8                  Plaintiff,                )
                                              )
 9   vs.                                      )            ORDER
                                              )
10   CARL VON BRADLEY, et al.,                )
                                              )
11                                            )
                    Defendant                 )
12                                            )
13            For the reasons set forth therein, and good cause appearing,
14            IT IS ORDERED that Plaintiff’s unopposed Motion to Dismiss and Seal
15   Defendant’s Motion for Reconsideration (Doc. #298) and to Seal Defendant’s
16   Motion for Relief Under 18 U.S.C. § 2255 (Doc. #303) is GRANTED.
17   DATED: November 21, 2012.
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                                                    PHILIP M. PRO
21                                                  United States District Judge
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